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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS
EARPLUG PRODUCTS LIABILITY
LITIGATION,                                 Case No. 3:19-md-2885

                                            Judge M. Casey Rodgers
                                            Magistrate Judge Gary R. Jones
This Document Relates to:

Season 4, LLC v. 3M Company, et al.
Case No. 3:21-mc-55-MCR-GRJ
_____________________________________/

                                   ORDER

      This miscellaneous matter stems from a pending multidistrict litigation

action (“MDL”) in this Court, In re 3M Combat Arms Earplug Prods. Liab.

Litig., No. 3:19-mc-2885-MCR-GRJ (N.D. Fla.). On September 3, 2021,

non-party Season 4, LLC (“S4”) filed a motion to quash MDL Defendants’

subpoena served in the District of New Jersey pursuant to Federal Rule of

Civil Procedure 45. ECF No. 1. While the motion to quash was pending in

the District of New Jersey, MDL Defendants filed a Motion to Stay pending

a decision by the United States Judicial Panel on Multidistrict Litigation

(“JPML”) regarding transfer of the motion to this Court. ECF No. 11. The

JPML transferred the motion to quash to this Court for resolution on

September 29, 2021. ECF No. 14.
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      Prior to the MDL Plaintiffs’ and Defendants’ responses to S4’s motion

to quash, MDL Plaintiffs’ counsel, Cohen, Placitella and Roth (“CPR”), filed

a motion to intervene in the matter to assert their client’s attorney-client and

work-product privileges for the subpoenaed documents. ECF Nos. 18, 18-

1. The MDL Plaintiffs filed a motion in support of CPR’s intervention, ECF

No. 22. Defendants did not respond in opposition, and the time for

responding has passed.

      The Motion to Intervene is, therefore, ripe for consideration. The

MDL Plaintiffs argue that intervention is appropriate as a matter of right

under Federal Rule of Civil Procedure Rule 24(a). ECF No. 18-1 at 8-9.

Rule 24(a) provides:

      [T]he court must permit anyone to intervene who … claims an
      interest relating to the property or transaction that is the subject
      of the action, and is so situated that disposing of the action may
      as a practical matter impair or impede the movant’s ability to
      protect its interest, unless existing parties adequately represent
      that interest.

Fed. R. Civ. P. 24(a)(2). In the Eleventh Circuit, a non-party may intervene

under Rule 24(a) when four requirements are met:

      (1) [the] application is timely; (2) [the non-party has] an interest
      relating to the property or transaction that is the subject of the
      action; (3) [the non-party is] so situated that disposition of the
      action, as a practical matter, may impede or impair [the
      applicant’s] ability to protect that interest; and (4) [the non-
      party’s] interest is represented inadequately by the existing
      parties to the suit.
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Tech. Training Assoc., Inc. v. Bucaneers Ltd. P’ship, 874 F.3d 692, 695-96

(11th Cir. 2017) (citation omitted).

      As to the first factor (timeliness), the court looks at “all the

circumstances”, Nat’l Ass’n for the Advancement of Colored People v. N.Y.,

413 U.S. 345, 366 (1973), while making four specific inquiries:

      (1) the length of time during which the intervenor knew or
      reasonably should have known of his interest in the case before
      he petitioned for leave to intervene; (2) the extent of prejudice
      to the existing parties as a result of the would-be intervenors
      failure to apply as soon as he knew or reasonably should have
      known of his interest; (3) the extent of prejudice to the would-be
      intervenor if his petition is denied; and (4) the existence of
      unusual circumstances militating either for or against a
      determination that the application is timely.

United States v. Jefferson Cty., 720 F.2d 1511, 1516 (11th Cir. 1983). The

motion to intervene was filed more than eighteen months after S4 was

served. So, S4 reasonably would have known of its interest in this case

before now. However, looking at the remaining three questions, they weigh

in favor of allowing CPR to intervene.

      First, the Court finds no prejudice to the parties if CPR intervenes for

the limited purpose of this discrete discovery issue. Further, the Court finds

that CPR’s clients would be prejudiced if Plaintiffs’ counsel is not heard on

this matter. Finally, the MDL itself is an unusual circumstance, which, in

this case, militates for CPR’s intervention. In sum, CPR’s motion is timely.


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      As to the second factor (non-party’s interest), the moving party must

assert an interest that is significantly protectable. Donaldson v. United

States, 400 U.S. 517, 531 (1971). The Eleventh Circuit “requires that the

intervenor must be at least a real party in interest in the transaction which is

the subject of the proceeding. This interest has also been described as a

direct, substantial, legally protectable interest in the proceedings.” Purcell

v. BankAtlantic Fin. Corp., 85 F.3d 1508, 1512 (11th Cir. 1996) (citation

omitted). Here, CPR has a legally protectable interest in the proceedings

as CPR intends to assert attorney-client privilege over communications

subject to the subpoena. See In re Grand Jury Proceedings in Matter of

Freeman, 708 F.2d 1571, 1575 (11th Cir. 1983) (intervention “should have

been allowed … once the claim of attorney-client privilege … surfaced”); In

re Grand Jury Subpoena, 274 F.3d 563, 570 (1st Cir. 2001) (“Colorable

claims of attorney-client and work product privilege qualify as sufficient

interests to ground intervention as of right.”). The second factor is thus met.

      As for the third factor (impairment of non-party’s interest), the Court

finds that enforcement of MDL Defendants’ subpoena could deprive CPR of

the ability to assert privilege as to communications between CPR and its

potential, current, and former clients. Once the privilege is lost, it cannot be

restored. Accordingly, the third factor is satisfied.


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       Finally, as to the fourth factor (unusual circumstances), CPR says

that it should be permitted to make two arguments in support of granting

the motion to quash, because S4, as a non-party, would not have known to

make the arguments. First, general discovery in the MDL has closed, so

Defendants should not be permitted to seek the discovery now. 1 Second,

the documents sought are not only privileged, but they are also not relevant

to the claims and defenses asserted in the MDL. S4 would have no way of

knowing what documents are, or are not, relevant. Upon due consideration,

the Court concludes that CPR has satisfied the fourth factor.

       Having met the requirements of Fed. R. Civ. P. 24(a)(2), the MDL

Plaintiffs’ Motion to Intervene is due to be granted.

       Accordingly, it is ORDERED:

              1.     The MDL Plaintiffs’ Motion to Intervene, ECF No. 18, is
                     GRANTED. The MDL Plaintiffs may intervene in this
                     discovery matter.

              2.     The MDL Plaintiffs must file a memorandum in support of
                     S4’s motion to quash, ECF No. 1, on or before
                     November 17, 2021. The MDL Defendants may file a
                     response addressing the MDL Plaintiffs’
                     arguments on or before November 24, 2021.




1The Lanier Law Firm, PLLC, part of the MDL Plaintiffs’ leadership team, joins this
argument, adding that party-specific discovery is not open for non-bellwether plaintiffs,
which includes Classaction.org users, rendering the subpoena premature for the non-
bellwether cases. ECF No. 20 at 4.
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 DONE AND ORDERED this 3rd day of November 2021.


                                    s/Gary R. Jones
                                   GARY R. JONES
                                   United States Magistrate Judge




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